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                 EXHIBIT 1
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AO 88A (Rev.    / ) Subpoena to Testify at a Deposition in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Southern District
                                                       __________  District of
                                                                            of Florida
                                                                               __________

             -R VI %TTPMGEXMSR SJ 0MRHE *MWGLIV                                )
                              Plaintiff                                        )
                                 v.                                            )      Civil Action No.
                                                                               )
                                                                               )
                             Defendant                                         )

                            SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                           7ZIXPERE %WXEJYVSZE
                                                 &MWGE]RI 4SMRX 'MVGPI 1MEQM &IEGL *0 
                                                       (Name of person to whom this subpoena is directed)

       




 Place: (ERMIP 6EWLFEYQ                                                                Date and Time:
           3RI &MWGE]RI 8S[IV  7SYXL &MWGE]RI &PZH 7YMXI 
           1MEQM *PSVMHE 

           The deposition will be recorded by this method:                    7XIRSKVETLMG ERH EYHMSZMWYEP

        Production: You, or your representatives, must also bring with you to the deposition the following documents,
           electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
           material: 4PIEWI WII %XXEGLQIRX %




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        
                                 CLERK OF COURT
                                                                                         OR

                                          Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party) (ERMIP 6EWLFEYQ
3RI &MWGE]RI 8S[IV  7SYXL &MWGE]RI &PZH 7YMXI                     , who issues or requests this subpoena, are:
1MEQM *PSVMHE  HVEWLFEYQ$QRVPE[JMVQGSQ 

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                        .

               I served the subpoena by delivering a copy to the named individual as follows:


                                                                                        on (date)                     ; or

               I returned the subpoena unexecuted because:
                                                                                                                                    .

         Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
         tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
         $                                          .

My fees are $                                       for travel and $                        for services, for a total of $      .


         I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                  (i) disclosing a trade secret or other confidential research, development,
                                                                                    or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                      (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                   not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or                study that was not requested by a party.
regularly transacts business in person; or                                             (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly         described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                         modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                       conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial                (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                            otherwise met without undue hardship; and
                                                                                         (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                              (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                      procedures apply to producing documents or electronically stored
                                                                                    information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                            (A) Documents. A person responding to a subpoena to produce documents
                                                                                    must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney               must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps              (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the                If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must              information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include              which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who                (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                    person responding need not produce the same electronically stored
                                                                                    information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                                (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                       responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to             from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of        of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,          order, the person responding must show that the information is not
hearing, or trial.                                                                  reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible              made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated        requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or             26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.         (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for             (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,        under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                          material must:
     (i) At any time, on notice to the commanded person, the serving party               (i) expressly make the claim; and
may move the court for the district where compliance is required for an                  (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                          tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the         privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from         (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                      subpoena is subject to a claim of privilege or of protection as
                                                                                    trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                              that received the information of the claim and the basis for it. After being
                                                                                    notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where             information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                        until the claim is resolved; must take reasonable steps to retrieve the
                                                                                    information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                                present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits                compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                            produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no       resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                        (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a               The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on           motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                                who, having been served, fails without adequate excuse to obey the
                                                                                    subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

                                             DEFINITIONS

          The following definitions apply to the requests below and should be considered as part of

   each request for production:

          1.       The definitions and rules of construction set forth in Rule 34 of the Federal Rules

   of Civil Procedure are hereby incorporated into the requests for the production of documents set

   forth herein.

          2.       The terms “YOU,” “YOUR,” and “SVETLANA ASTAFUROVA” mean the

   subpoenaed party, Svetlana Astafurova, and any current or former aliases, including but not

   limited to Lana Astafurova, Svetlana Astagurova, and Svetlana Astafurava.

          3.       The term “MICHAEL FISCHER” means Michael D. Fischer, and any current or

   former aliases, including but not limited to Michael Fisher, and the Estate of Michael Fischer.

          4.       The term “JEFFREY SLAVET” means Jeffrey Slavet, and any current or former

   aliases, including but not limited to Jeffrey Slavit, and any affiliated companies, partnerships,

   proxies, agents, or representatives, including but not limited to Slavet & Altman, Slavit &

   Altman, and Slavet & Lefkowitz.

          5.       The term “ANDREW FISCHER” means Andrew Fischer, the son of Michael

   Fischer, and any current or former aliases.

          6.       The term “LINDA FISCHER” means Linda Fischer, and any current or former

   aliases, including but not limited to Linda Fischer Frosini.

          7.       The term “HOLDING COMPANIES” collectively means all companies YOU

   serve as a director, officer, registered agent, or individual acting on their behalf formed by or in

   conjunction with Michael Fischer for the purpose of investing in real property, including but not
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   limited to Viterbi Services Ltd., XL Funding Inc., Blackstone Equities, LLC, Raventor Trader

   Ltd., Lombardy 711, Inc., Flamingo Management Corporation, Bispoint, LLC, Sunny Isles,

   LLC, Dislan Enterprises Ltd., Grantel Holdings Ltd., and Selder Holdings Ltd., Texas Real

   Estate Equities LLC, Rinvel Holdings Ltd., Blinder Trading Ltd., Dinsol Enterprises Ltd.,

   Metcalf Properties, Sunny Isles LLC, Highland Property, Inc. and any parent, subsidiary,

   affiliates, predecessors, successors, all current and former directors, officers, employees,

   consultants, agents, representatives, attorneys, and any other person acting on their behalf.

          8.      Without limitation to the terms above, the term “LOMBARDY 711” means

   Lombardy 711, Inc. and includes any parent, subsidiary, affiliates, predecessors, successors, and

   all current and former directors, officers, shareholders, employees, consultants, agents,

   representatives, attorneys, and any other person acting on behalf of Lombardy 711, Inc.

          9.      Without limitation to the terms above, the term “BLACKSTONE EQUITIES”

   means Blackstone Equities, LLC and includes any parent, subsidiary, affiliates, predecessors,

   successors, and all current and former directors, officers, shareholders, employees, consultants,

   agents, representatives, attorneys, and any other person acting on behalf of Blackstone Equities,

   LLC.

          10.     Without limitation to the terms above, the term “XL FUNDING” refers to XL

   Funding Inc. (also written as X-L Funding Inc.) and includes any parent, subsidiary, affiliates,

   predecessors, successors, and all current and former directors, officers, shareholders, employees,

   consultants, agents, representatives, attorneys, and any other person acting on behalf of XL

   Funding Inc.




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          11.      The term “LOMBARDY HOTEL” refers to the hotel and residential cooperative

   located at 111 E 56th St, New York, NY 10022 and includes the related corporate entity 111 East

   56th Street, Inc.

          12.      The term “LOMBARDY UNITS” refers to, individually and collectively, unit 711

   and unit 1202 in the Lombardy Hotel.

          13.      The term “BLACKSTONE BUILDING” refers to the 13-story, 131-unit

   apartment building at 800 or 830 Washington Avenue, Miami Beach, Florida, 33139.

          14.      The term “concerning” means relating to, referring to, describing, evidencing or

   constituting.

          15.      The term “communication” shall include, without limitation, any written,

   electronic, or oral correspondence or communication, including any conversation in person, by

   telephone, by email, by facsimile, by letter, over text message or instant message, or by any other

   means. A document or thing transferred, whether temporarily or permanently, from one person

   to another shall be deemed to be a communication between such persons whether or not such

   document or thing was prepared or created by the transferor or addressed to the transferee. For

   the avoidance of doubt, the term “document” includes any tangible “communication.”

          16.      The term “document” is defined to include traditional paper documents, including

   but not limited to letters, memoranda, correspondence, facsimiles, writings, handwritten notes,

   drafts, reports, spreadsheets, charts, graphs, and notes of conversations, whether originals,

   copies, and/or printouts. “Document” also includes information and data generated by or

   maintained in electronic form, including but not limited to internal, external, or web-based

   emails, non-email electronic documents (e.g., files in Word, Excel, or PowerPoint), calendar or

   diary entries, instant messages including but not limited to Jabber and Slack, text messages




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   including but not limited to iMessages, social media posts or messages, and voicemails; all

   information and documents located on personal computers (desktops and/or laptops), tablets,

   PDAs (e.g., Blackberries), or mobile phones; all information and documents maintained on any

   shared or collaborative computer system or database; and all information and documents

   maintained in any type of electronic storage medium, such as CDs, DVDs, magnetic tape,

   removal or portable drives, videotapes, audiotapes, or any other medium.

              17.   The terms “and” and “or” shall be construed either conjunctively or disjunctively

   as necessary to bring within the scope of the discovery request all responses that might otherwise

   be construed to be outside of its scope.

              18.   The terms “all,” “any,” and “each” shall each be construed as encompassing any

   and all.

              19.   The term “including” shall not be construed as limiting any request, and shall

   mean the same as “including, but not limited to.”

              20.   The use of the term “the” shall not be construed as limiting the scope of any

   request for production.

              21.   The use of the singular form of a word includes the plural and vice versa.




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                                            INSTRUCTIONS

   The following instructions shall govern the response and production of documents:

          1.      In answering and responding to these document requests, please furnish each and

   every Document that is in your possession, custody, or control, or that is in the possession,

   custody, or control of your principals, agents, employees, attorneys, representatives, insurers, and

   any other persons or entities acting on your behalf.

          2.      Each request for documents seeks production of the document in its entirety,

   without abbreviation, redaction, expurgation, or modification, including all attachments,

   enclosures, or other matters affixed thereto. Documents attached to each other, including, but

   not limited to, by staple, clip, tape, email attachment, or “Post-It” note, should not be separated.

   The production must also include, where applicable, any index tabs, file dividers, designations,

   binder spine labels, or other similar information as to the source and/or location of the

   documents.

          3.      At the time and place of production of the documents requested herein, the

   documents requested are to be produced in the same order as maintained in the ordinary course

   of business and in accordance with Rule 45 of the Federal Rules of Civil Procedure.

          4.      If YOU object to a portion or an aspect of a Document Request, YOU are

   required to state the grounds for YOUR objection with specificity and to respond as to any

   portion(s) of the Document Request concerning which YOU have not propounded such

   objection.

          5.      In the event that any document called for by these Document Requests has been

   destroyed, discarded, otherwise disposed of, or no longer exists, that document is to be identified

   as completely as possible, including, without limitation, the following information: author(s),




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   addressee(s), indicated or blind copy recipient(s), date, subject matter, date of disposal, reason

   for disposal, PERSON authorizing the disposal, and the PERSON disposing of the document and

   identify its last known location and the reason it is no longer in existence.

          6.      In the event that any information is redacted from a document produced pursuant

   to these Document Requests, that information is to be identified and the basis upon which such

   information is redacted should be fully stated.

          7.      In the event that multiple copies or versions of a document exist, produce all non-

   identical copies of the document, including any and all drafts of the document.

          8.      At the time and place of production of the documents requested herein, the

   documents requested are to be produced in the same order as maintained in the ordinary course

   of business.

          9.      For each document produced, identify the specific Document Request category to

   which it is responsive.

          10.     Defined terms may be capitalized for convenience; the definitions herein apply

   whether or not the term is capitalized.

          11.     For each document produced, identify the office and location where that

   document was kept prior to this proceeding.

          12.     Except where expressly stated, these Document Requests are not limited in any

   way by geography.

          13.     These Document Requests are continuing in nature. If, after producing any

   documents in response to these document requests, you obtain or become aware of additional

   responsive information, you are required to provide such information or documents by way of a

   supplemental production.




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                                    RELEVANT TIME PERIOD

          1.      The relevant time period unless otherwise indicated shall be from January 1,

   2000, through present and shall include all documents and information which relate in whole or

   in part to such period, or to events or circumstances during such period, even though dated,

   prepared, generated or received prior or subsequent to that period.

                                DOCUMENTS TO BE PRODUCED

          1.      All documents and communications relating to LINDA FISCHER’S relationship

   to the HOLDING COMPANIES, including but not limited to documents or communications that

   indicate LINDA FISCHER’S current title or role at the HOLDING COMPANIES, or any titles

   or roles previously held; LINDA FISCHER’S financial interests in any of the HOLDING

   COMPANIES; LINDA FISCHER’S investments, including but not limited to the LOMBARDY

   UNITS and the BLACKSTONE BUILDING, in any of the HOLDING COMPANIES or their

   assets; or any payments made by the HOLDING COMPANIES to LINDA FISCHER.

          2.      All documents and communications reflecting the nature of YOUR relationship to

   or roles with the HOLDING COMPANIES, including but not limited to documents or

   communications that indicate YOUR current title or role at the HOLDING COMPANIES, or any

   titles or roles previously held; YOUR financial interests or investments in any of the HOLDING

   COMPANIES; or any payments made by the HOLDING COMPANIES to YOU.

          3.      All documents and communications reflecting the nature of MICHAEL

   FISCHER’S relationship to or roles with the HOLDING COMPANIES, including but not

   limited to documents or communications that indicate MICHAEL FISCHER’S current title or

   role at the HOLDING COMPANIES, or any titles or roles previously held; MICHAEL




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   FISCHER’S financial interests or investments in any of the HOLDING COMPANIES; or any

   payments made by the HOLDING COMPANIES to MICHAEL FISCHER.

          4.     All documents and communications reflecting the nature of JEFFREY

   SLAVET’S relationship to or roles with the HOLDING COMPANIES, including but not limited

   to documents or communications that indicate JEFFREY SLAVET’S current title or role at the

   HOLDING COMPANIES, or any titles or roles previously held; JEFFREY SLAVET’S financial

   interests or investments in any of the HOLDING COMPANIES; or any payments made by the

   HOLDING COMPANIES to JEFFREY SLAVET.

          5.     All documents and communications concerning any financial transactions or

   records of the HOLDING COMPANIES, including but not limited to bank statements, outgoing

   or incoming wire transfers, mortgage documents, and/or tax returns.

          6.     All documents and communications concerning the LOMBARDY UNITS.

          7.     All documents and communications concerning the BLACKSTONE BUILDING.

          8.     All documents and communications related to any corporate fees or taxes owed or

   paid by the HOLDING COMPANIES, including but not limited to corporate fees or taxes owed

   by LOMBARDY 711 and BLACKSTONE EQUITIES.

          9.     All documents and communications reflecting the capitalization of the HOLDING

   COMPANIES, including but not limited to the current capitalization of LOMBARDY 711 and

   BLACKSTONE EQUITIES.

          10.    All documents and communications reflecting any investments made by the

   HOLDING COMPANIES, including but not limited to real property assets currently or

   previously owned by the HOLDING COMPANIES such as (but not limited to) the

   LOMBARDY UNITS and the BLACKSTONE BUILDING.




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          11.     All documents and communications reflecting the funding source(s) of any

   investments or asset purchases by the HOLDING COMPANIES, including but not limited to the

   LOMBARDY UNITS, the BLACKSTONE BUILDING, and any other real property currently or

   previously owned by the HOLDING COMPANIES.

          12.     All documents and communications sufficient to show current and previous

   ownership or financial interests in the HOLDING COMPANIES, including but not limited to

   documents reflecting any parent companies, subsidiaries, and/or affiliated companies.

          13.     Documents sufficient to reflect any and all transactions involving LOMBARDY

   711 and its assets, including but not limited to profits earned, maintenance bills, contracts of

   sales, and/or other transactions related to the LOMBARDY UNITS.

          14.     Documents sufficient to reflect any and all transactions involving

   BLACKSTONE EQUITIES and its assets, including but not limited to profits earned,

   maintenance bills, contracts of sales, and/or other transactions related to the BLACKSTONE

   BUILDING.

          15.     All documents and communications reflecting the transfer or disbursement of any

   capital gains or profits realized by the HOLDING COMPANIES.

          16.     All documents and communications between YOU and MICHAEL FISCHER,

   JEFFREY SLAVET, and/or ANDREW FISCHER relating to the HOLDING COMPANIES or

   their assets, including but not limited to LOMBARDY 711, BLACKSTONE EQUITIES, the

   LOMBARDY UNITS, and the BLACKSTONE BUILDING.

          17.     All documents and communications between YOU and MICHAEL FISCHER,

   JEFFREY SLAVET, and/or ANDREW FISCHER, relating to LINDA FISCHER’s interests

   (direct or indirect) in the HOLDING COMPANIES and their assets, including but not limited to




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   LOMBARDY 711, BLACKSTONE EQUITIES, the LOMBARDY UNITS, or the

   BLACKSTONE BUILDING.

         18.   All documents and communications reflecting the dissolution or change in status

   from active corporation of any of the HOLDING COMPANIES.




                                              10
